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                          CONTINUATION IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Trisha M.A. Kovac, a Special Agent with the Federal Bureau of Investigation (FBI),

being duly sworn, depose and state as follows:

                                        INTRODUCTION

         1.      I have been employed as a Special Agent (“SA”) of the Federal Bureau of

 Investigation since February 1, 2009, and am currently assigned to the Detroit Division, Saint

 Joseph Resident Agency. While employed by the FBI, I have investigated federal criminal

 violations related to high technology or cybercrime, child exploitation, and child pornography,

 and regularly assist in the prosecution of these types of cases. I have received training in the

 area of child pornography and child exploitation and have had the opportunity to observe and

 review numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all forms

 of media including computer media. Moreover, I am a federal law enforcement officer who is

 engaged in enforcing the criminal laws, including coercion and enticement and traveler offenses.

 As a federal agent, I am authorized to investigate violations of laws of the United States and to

 execute warrants issued under the authority of the United States. My duties include the

 investigation of alleged violations of federal criminal laws, including matters involving

 violations of 18 U.S.C. §§ 2251 and 2252A (which make it illegal to produce, distribute, and

 possess child pornography in interstate commerce) and of 18 U.S.C. § 2423 (which makes it

 illegal to travel in interstate commerce with the intent to engage in illicit sexual activity).

         2.      Pursuant to the provisions of 18 U.S.C. § 2256(8), “child pornography” means a

 visual depiction, the production of which involves the use of a minor engaging in sexually

 explicit conduct, including but not limited to various simulated or actual sex acts, or the

 lascivious exhibition of the genitals or the pubic area.
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       3.      I make this I make this affidavit in support of an application for a search warrant

under Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for information

about the historic location of the cellular telephone assigned call number (224) 406-4664 (the

“Subject Phone”), whose service provider is Verizon, a wireless telephone service provider

headquartered at 180 Washington Valley Road in Bedminster, NJ. The Subject Phone is

described herein and in Attachment A, and the location information to be seized is described

herein and in Attachment B.


       4.      This affidavit is intended to show merely that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.

       5.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 18 U.S.C. §§ 2251 and 2252A (which make

it illegal to produce, distribute, and possess child pornography in interstate commerce) and of 18

U.S.C. § 2423 (which makes it illegal to travel in interstate commerce with the intent to engage

in illicit sexual activity) have been committed by EDUARDO G. TORRES. There is also

probable cause to search the information described in Attachment A for evidence of these crimes

further described in Attachment B.

                   FACTUAL BACKGROUND OF INVESTIGATION

       6.      On or around April 14, 2023, 11:30 a.m., a woman herein referred to as W.J.

contacted the Berrien Springs Oronoko Township Police Department to report that her 12-year-

old daughter, herein referred to as J.R., had left the house after W.J. went to work at 5:00 a.m.

According to information obtained by J.R.’s sister from J.R.’s Snapchat account, J.R. went to

meet a male in his twenties known only as “Jessy” to have sex in the woods for drugs. At the


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 time she went missing, J.R. was wearing a purple hoodie with neon-colored graphics of a

 skeleton hand holding a rose, and grey shorts.

       7.        Afterward, J.R.’s sister found a video in J.R.’s Snapchat account, which is an

account with username noregrets-cea1, that showed her having sex with a Hispanic male in the

woods. The video had been sent to J.R.’s Snapchat account from account jessy2258271 that

morning and was shot from the perspective of the male subject. The video at first appeared to be

in the “portrait” mode, and a male’s face can be seen clearly. The camera view then flips, and a

close-up of intercourse of a penis penetrating a vagina is visible. A female can be seen having her

hair pulled while she is in the all-fours position from the male vantage point taking the video.

J.R.’s sister identified the female as J.R. based upon her physical appearance and the shirt she was

wearing in the video. A screen capture from the video showed the below subject:




       1
         A preservation request was submitted to Snapchat for noregrets-cea1 and jessy225827
on April 18, 2023 and April 15, 2023, respectively.

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       8.        FBI was notified shortly after 4:00 pm that same day that J.R. was missing, and

initiated a number of emergency disclosure requests to track her location and identify the subject.

An emergency disclosure request submitted to Snapchat for jessy225827 returned Google email

account mtorres.12349@gmail.com and IP logs returning to Verizon Wireless.2 A search in

Accurint3 for mtorres.12349@gmail.com returned a match for an individual identified as

EDUARDO G. TORRES, DOB xx/xx/1997,4 residential address in Waukegan, IL. An emergency

disclosure request submitted to Google, LLC for mtorres.12349@gmail.com requesting all


       2
       Snapchat is a visual social media messaging application operated by Snap Inc., a
company located in Santa Monica, California.
       3
         Accurint is a public record database that law enforcement routinely uses in
investigations.
       4
         The full date of birth is known to me, but I have not included it to protect personal
identifying information.

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account information, including subscriber and location information, provided location data that

indicated that the account had traveled from outside Chicago, Illinois to Berrien Springs, Michigan

from 1 a.m. to 4 a.m., spent time in the vicinity of J.R.’s address, then traveled towards Benton

Harbor, MI, leaving at approximately 4:00 p.m. eastern time to return to Chicago. The timing of

the Google location data shows that the subject was in the vicinity of either Berrien Springs or Eau

Claire, Michigan at the time Snapchat user jessy225827 sent the video of sexual intercourse to

J.R.’s Snapchat account.

       9.        Google      returned     the     following      subscriber     information     for

mtorres.12349@gmail.com:

               Eddie Torres
               Waukegan, IL
               224-406-4664

The street address in Waukegan provided by Google matched the street address in Accurint, and

the same phone number was also linked to TORRES in Accurint and is the Subject Phone.


       10.       The location history of the Google account was plotted onto maps by an FBI

Special Agent from the Cellular Analysis Survey Team (CAST), which provided TORRES’s travel

history, as shown below:




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       11.       The FBI submitted an exigent request to Verizon for subscriber information for

the Subject Phone at cellular account number 224-406-4464. This number was associated with

EDUARDO G. TORRES both in Accurint and from the Google account information listing the

subscriber as Maria Torres at the same address in Waukegan, IL. According to the Chicago

Department of Motor Vehicles, Maria Torres’s DOB is xx/xx/1969.5 Law enforcement contacted

Maria Torres at the Waukegan address and confirmed that she is TORRES’s mother. Location

information provided by Verizon for cellular account number 224-406-4464 also showed the same

path of travel as the Google account data showed. A combined image of the Verizon and Google

data shows both the Google account and the Verizon account located within the vicinity of J.R.’s

residence between 4:00 a.m. and 6:00 a.m. on April 14, 2023:




       5
         The full date of birth is known to me, but I have not included it to protect personal
identifying information.

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       12.      As of 6:49 p.m. on April 14, 2023, the Google account gave the following location

within the city of Waukegan, IL:




                          REDACTED




       13.      An Illinois driver’s license for EDUARDO G. TORRES shows an individual of

similar appearance to the male from the video:




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       14.       From the late hours of April 14, 2023, to the early morning hours of April 15,

2023, the Subject Phone at cellular number 224-406-4464 continued to ping within the vicinity

of the known Waukegan, IL address for EDUARDO G. TORRES. In the early morning hours of

April 15, 2023, Agents approached the residence and observed individuals outside of the residence

who identified themselves as family members of TORRES. TORRES and J.R. were seated in a

vehicle in the driveway.

       15.       Upon making contact with TORRES, Agents called the Subject Phone at 224-

406-4464, and heard the phone ring in TORRES’s pocket, which he picked up. Agents seized the

device, which was a Google Pixel 2 phone. Google Pixel phones are not manufactured in

Michigan. Agents read TORRES his Miranda rights and interviewed him. TORRES admitted

that he was communicating with J.R. on Snapchat with the purpose of driving to Michigan to see

her to engage in sexual intercourse. He stated that he had not met her in person prior to April 14,

2023. TORRES admitted that he traveled to Michigan to pick up J.R. and that he had sexual

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intercourse with J.R. twice, including once in the woods near J.R.’s residence in Berrien Springs,

Michigan. TORRES stated that he waited until J.R.’s mother left for work to pick up J.R. After

TORRES and J.R. had sexual intercourse, he admitted that he drove her across state lines to his

home in Waukegan, Illinois.

       16.      Additionally, TORRES admitted to producing three videos of himself and J.R.

having sexual intercourse and that he sent those videos to J.R.’s Snapchat account. A portion of

one of the videos has been recovered by law enforcement after J.R.’s sister located the video

(described above) on J.R.’s Snapchat account. TORRES admitted that he believed that J.R. was

13 years old. TORRES admitted that he had a laptop at his residence on which he had viewed

child sexual abusive materials in the past. Agents also seized the computer. TORRES further

admitted to talking to others who he believed were minors on Snapchat and stated that J.R. was

the first he had met in person. Based on the location data evidence, the Snapchat video evidence,

and TORRES’s statements, including that the first time he met J.R. in person was on April 14,

2023, the video of sexual intercourse was produced in Berrien County in the Southern Division of

the Western District of Michigan when he had sex with J.R. in the woods near her residence.

TORRES was subsequently arrested.

       17.      On April 15, 2023, the government filed a criminal complaint against TORRES

for violations of 18 U.S.C. §§ 2251(a) (production of child pornography); 2252A(a)(5)(B)

(possession of child pornography); 2423(a) (transportation of a minor); and 2423(b) (travel with

intent to engage in illicit sexual activity). (1:23-mj-00162-RSK PageID.2).

       BACKGROUND RELATING TO VERIZON AND RELEVANT TECHNOLOGY

         18.    In my training and experience, I have learned that Verizon is a company that

 provides cellular telephone access to the general public. I also know that providers of cellular

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telephone service have technical capabilities that allow them to collect and generate information

about the locations of the cellular telephones to which they provide service, including cell-site

data, also known as “tower/face information” or “cell tower/sector records.” Cell-site data

identifies the “cell towers” (i.e., antenna towers covering specific geographic areas) that received

a radio signal from the cellular telephone and, in some cases, the “sector” (i.e., faces of the

towers) to which the telephone connected. These towers are often a half-mile or more apart,

even in urban areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower

closest to a wireless device does not necessarily serve every call made to or from that device.

Accordingly, cell-site data provides an approximate location of the cellular telephone but is

typically less precise than other types of location information, such as E-911 Phase II data or

Global Positioning Device (“GPS”) data.

       19.     Based on my training and experience, I know that Verizon can collect cell-site

data about the Subject Phone. I also know that wireless providers such as Verizon typically

collect and retain cell-site data pertaining to cellular phones to which they provide service in

their normal course of business in order to use this information for various business-related

purposes. I have confirmed with the provider that it currently possesses the information,

particularly cell-site information, identified in Attachment B.I during the exigent circumstances

request process, as described herein.

       20.     Based on my training and experience, I know that Verizon also collects per-call

measurement data, which Verizon also refers to as the “real-time tool” (“RTT”). RTT data

estimates the approximate distance of the cellular device from a cellular tower based on the speed

with which signals travel between the device and the tower. This information can be used to

estimate an approximate location range that is more precise than typical cell-site data.

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       21.      Based on my training and experience, I know that wireless providers such as

Verizon typically collect and retain information about their subscribers in their normal course of

business. This information can include basic personal information about the subscriber, such as

name and address, and the method(s) of payment (such as credit card account number) provided

by the subscriber to pay for wireless telephone service. I also know that wireless providers such

as Verizon typically collect and retain information about their subscribers’ use of the wireless

service, such as records about calls or other communications sent or received by a particular

phone and other transactional records, in their normal course of business. In my training and

experience, this information may constitute evidence of the crimes under investigation because

the information can be used to identify the Subject Phone’s user or users and may assist in the

identification of co-conspirators and/or victims.

                                          CONCLUSION

       22.      Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41. The data

requested in Attachments A and B will assist investigators by tracking the geolocation

information associated with the Subject Phone in the time immediately before, during, and

after the events described herein.

        23.     This Court has jurisdiction to issue the requested warrant because it is “a court

of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has

jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

       24.      I further request that the Court direct Verizon to disclose to the government any

information described in Section I of Attachment B that is within its possession, custody, or

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control. Because the warrant will be served on Verizon who will then compile the requested

records at a time convenient to it, reasonable cause exists to permit the execution of the

requested warrant at any time in the day or night.




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